                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         CRIMINAL DOCKET NO.: 3:01CR66

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                      ORDER
JAMES E. MUNSON (2),                )
                                    )
            Defendant.              )
___________________________________ )

       THIS MATTER is before the Court on Defendant’s pro se Motion for Bail Pending

Resentencing, filed June 15, 2006.

       On May 30, 2003, a jury found Defendant guilty of conspiracy to possess with intent to

distribute marijuana, in violation of 21 U.S.C. §§ 841, 846 (Count One), and conspiracy to

commit money laundering, in violation of 18 U.S.C. § 1956 (Count Two). On December 18,

2003, this Court sentenced Defendant to 121 months imprisonment on both Count One and

Count Two, with the terms of imprisonment to run concurrently. On March 4, 2004, Defendant

filed a Notice of Appeal. On May 17, 2006, the United States Court of Appeals for the Fourth

Circuit affirmed the Defendant’s conviction but remanded him for re-sentencing pursuant to

United States v. Collins, 415 U.S. 304 (4th Cir. 2005). The Mandate issued on June 13, 2006.

       In his pro se Motion, Defendant asks to be released on bond pending his re-sentencing by

this Court. However, on July 20, 2006, Defendant was appointed Richard Brown, Esq. to

represent him for purposes of re-sentencing. Since Defendant is now represented by counsel, the

Court will not consider Defendant’s pro se Motion. If defense counsel believes that Defendant’s

Motion has merit, he may refile such motion with the Court.


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      IT IS, THEREFORE, ORDERED that Defendant’s pro se Motion for Bail Pending

Resentencing is hereby DENIED.



                                        Signed: July 31, 2006




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